         Case 1:21-cr-00175-TJK Document 180 Filed 09/20/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-175 (TJK)
                                              :
ETHAN NORDEAN,                                :
also known as “Rufio Panman,”                 :
JOSEPH BIGGS,                                 :
ZACHARY REHL, and                             :
CHARLES DONOHOE,                              :
                                              :
                       Defendants.            :

    GOVERNMENT’S NOTICE REGARDING DISCOVERY CORRESPONDENCE

       The United States of America, by and through undersigned counsel, respectfully submits

this notice of recent correspondence to defense counsel regarding discovery productions to date.

Filed as attachments to this notice are letters to counsel, some of which contain limited redactions

to protect personal information or matters under seal. The letters are identified in the following

chart, which includes the number of the attachment as well as the date and recipient(s) of the

correspondence.
      Case 1:21-cr-00175-TJK Document 180 Filed 09/20/21 Page 2 of 2




Attachment       Date                          Recipient(s)
     1        7/28/2021   Counsel for All Defendants
     2        7/28/2021   Counsel for All Defendants
     3        7/28/2021   Counsel for All Defendants
     4        7/29/2021   Counsel for All Defendants
     5         8/9/2021   Counsel for Defendant Biggs
     6        8/24/2021   Counsel for All Defendants
     7         9/9/2021   Counsel for Defendant Biggs
     8         9/9/2021   Counsel for Defendants Nordean, Donohoe
     9        9/11/2021   Counsel for Defendants Nordean, Biggs, Donohoe
    10        9/16/2021   Counsel for Defendant Nordean
    11        9/16/2021   Counsel for Defendants Biggs, Rehl, Donohoe
    12        9/16/2021   Counsel for Defendant Rehl
    13        9/16/2021   Counsel for Defendant Rehl
    14        9/20/2021   Counsel for All Defendants
    15        9/20/2021   Counsel for Defendant Donohoe
    16        9/20/2021   Counsel for Defendants Nordean, Biggs, Rehl


                                  Respectfully submitted,

                                  CHANNING D. PHILLIPS
                                  Acting United States Attorney
                                  DC Bar No. 415793

                           By:    /s/ Luke M. Jones
                                  LUKE M. JONES
                                  VA Bar No. 75053
                                  JASON B.A. MCCULLOUGH
                                  D.C. Bar No. 998006; NY Bar No. 4544953
                                  Assistant United States Attorneys
                                  555 4th Street, N.W.
                                  Washington, D.C. 20530
                                  (202) 252-7066
                                  Luke.Jones@usdoj.gov




                                     2
